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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  DISABILITY RIGHTS FLORIDA, INC.,
  on behalf of its Clients and Constituents,
                                                 Civil Action No. 14-23323-civ-Scola
         Plaintiffs,                             Consolidated Action Case No. 14-24140-
                                                 civ-Scola
  vs.

  JULIE JONES, Secretary, Florida
  Department of Corrections, in his Official
  Capacity; WEXFORD HEALTH SOURCES,
  INC.; and FLORIDA DEPARTMENT OF
  CORRECTIONS, an Agency of the State
  of Florida,

         Defendants.

  __________________________________/

  ANDRE CHAPMAN, as personal
  representative of the ESTATE OF
  DARREN RAINEY, on behalf of the
  Estate, and on behalf of Darren Rainey’s
  Survivors, Andre Chapman, Renee
  Chapman, Deborah Johnson, Chnieaqua
  Breelove and Harold Marr,

         Plaintiffs,

  vs.

  FLORIDA DEPARTMENT OF
  CORRECTIONS, an Agency of the State
  Of Florida, CORIZON, LLC, an out-of-
  State limited liability corporation doing business
  and registered in Florida, ROLAND CLARKE,
  CORNELIUS THOMPSON and JERRY CUMMINGS

        Defendants.
  ______________________________________________/
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   DEFENDANTS CLARKE AND THOMPSON’S NOTICE OF FILING IN SUPPORT OF
        MOTION TO COMPEL PRODUCTION PURSUANT TO SUBPOENA
               SERVED ON MIAMI DADE MEDICAL EXAMINER

         Defendants, ROLAND CLARKE and CORNELIUS THOMPSON, by and through

  undersigned counsel, file the attached Affidavit of Wayne K. Ross, M.D., in support of their

  Motion to compel Production Pursuant to Subpoena Served on Miami Dade Medical Examiner.



         I hereby certify that on this 14th day of July, 2017, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties who are
  not authorized to receive electronically Notices of Electronic Filing.
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                                                BY __/s/ Oscar E. Marrero___________________
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                                         SERVICE LIST
                                        1:14-cv-23323-RNS



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